       Case 2:11-cv-01560-JAT Document 9 Filed 11/14/11 Page 1 of 2



1    Marshall Meyers (020584)
2    WEISBERG & MEYERS, LLC
     5025 North Central Ave., #602
3    Phoenix, AZ 85012
4
     602 445 9819
     866 565 1327 facsimile
5    mmeyers@AttorneysForConsumers.com
6
     Attorney for Plaintiff

7
                             UNITED STATES DISTRICT COURT
8
                              FOR THE DISTRICT OF ARIZONA
9

10
     Joshua Garcia,                          ) Case No. 2:11-cv-01560-JAT
                                             )
11   Plaintiff,                              ) NOTICE OF DISMISSAL                    WITH
                                             ) PREJUDICE
12
            vs.                              )
13                                           )
     Firstsource Financial Solutions, LLC fka)
14
     Firstsource Financial Solutions, Inc.,  )
15                                           )
     Defendant.                              )
16

17
           NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the
18

19   District Court of Arizona, Plaintiff’s Notice of Dismissal of Case With Prejudice, a copy
20
     of which is herewith served upon Defendant.
21
                          RESPECTFULLY SUBMITTED this 14th day of November,
22
                  2011.
23
                                            By:s/Marshall Meyers
24
                                             Marshall Meyers
25                                           WEISBERG & MEYERS, LLC
                                             5025 North Central Ave., #602
26                                           Phoenix, AZ 85012
27                                           602 445 9819
                                             866 565 1327 facsimile
28                                           mmeyers@AttorneysForConsumers.com
                                             Attorney for Plaintiff


                                         Notice of Dismissal - 1
       Case 2:11-cv-01560-JAT Document 9 Filed 11/14/11 Page 2 of 2



1    Filed electronically on this 14th day of November, 2011, with:
2
     United States District Court CM/ECF system
3

4

5    By: s/Jessica DeCandia
6
         Jessica DeCandia

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                                         Notice of Dismissal - 2
